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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA


 B.P.J. by her next friend and mother, HEATHER            Civil Action No. 2:21-cv-00316
 JACKSON,
                             Plaintiff,                   Hon. Joseph R. Goodwin
                        v.

 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD
 OF      EDUCATION,          WEST      VIRGINIA
 SECONDARY            SCHOOL         ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,
                             Defendant-Intervenor.

             FIRST SUPPLEMENTAL DECLARATION OF LOREE STARK

       I, Loree Stark, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I am the Legal Director of the ACLU of West Virginia and counsel of record for

Plaintiff B.P.J, with her next friend and mother, Heather Jackson. The following is true of my

own personal knowledge, and, if called as a witness, I would and could testify competently

thereto.

       2.      I submit this supplemental declaration in support of Plaintiff B.P.J.’s consolidated

opposition to Defendants’ motions for summary judgment.

       3.      Attached to this declaration are true and correct copies of the documents listed in

the table below.


                                                1
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       4.      Incorrect versions of Exhibits 37 and 38 were attached in the Declaration of Loree

Stark filed on April 21, 2022. (Dkt. No. 289-38; Dkt. No. 289-39.) Corrected versions of those

exhibits have been attached to this supplemental declaration as Exhibits 47 and 48.

   Exhibit                                          Description

   Discovery Responses

      45        Resps. to Pl’s First Set of Interrogatories to WVSSAC, November 22, 2021

      46        Defendant-Intervenor’s First Supplemental Disclosures, February 11, 2022

   Other Documents

      47        Transgender Policy, WVSSAC Board of Directors, WVSSAC000008

                The Rules and Regulations of the West Virginia Secondary Schools Activities
      48
                Commission, August 2021-2022, WVSSAC000012-26

                USA Rugby, Transgender Athletes and Participants,
      49
                https://www.usa.rugby/transgender/ (last visited May 12, 2022)

                UK Sports, Guidance for Transgender Inclusion in Domestic Sport,
                https://equalityinsport.org/docs/300921/Guidance%20for%20Transgender%20
      50
                Inclusion%20in%20Domestic%20Sport%202021.pdf (last visited May 12,
                2022)

                UK Sports, Frequently Asked Questions,
      51        https://equalityinsport.org/docs/300921/Frequently%20Asked%20Questions.p
                df (last visited May 12, 2022)

                World Rugby, Transgender Women Guidelines, https://www.world.rugby/the-
      52        game/player-welfare/guidelines/transgender/women (last visited May 12,
                2022)

                IQA Rulebook, https://iqasport.cdn.prismic.io/iqasport/86da705a-b6b3-4a1f-
      53
                8f49-e1d5097ba4c2_Rulebook-20.pdf (last visited May 12, 2022)

                International Quidditch Association, What is Quidditch?
      54
                https://iqasport.org/what-is-quidditch (last visited May 12, 2022)



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   Exhibit                                          Description

                New IAAF rules for transgender athletes (Oct. 15, 2019)
      55        https://www.smh.com.au/sport/athletics/new-iaaf-rules-for-transgender-
                athletes-20191015-p530sx.html (last visited May 12, 2022)
                Ex. 73 of Deposition Transcript of Gregory A. Brown, Ph.D. (March 25,
                2022), Brown GA. The Olympics, sex, and gender in the physiology
                classroom. Physiology Educators Community of Practice, managed by the
      56        Education group of the American Physiological Society (August 18, 2021),
                https://blog.lifescitrc.org/pecop/2021/08/18/the-olympics-sex-and-gender-in-
                thephysiology-classroom/ (last visited May 12, 2022)

                Bhargava, A. et al. Considering Sex as a Biological Variable in Basic and
      57        Clinical Studies: An Endocrine Society Scientific Statement. Endocr Rev.
                42:219-258 (2021)

                Am. Psych. Assoc.: Diagnostic & Statistical Manual of Mental Disorders 829
      58        (5th ed. 2013)

   Party Correspondence

      59        Email from K. Kang, December 20, 2021

      60        Email from K. Kang, February 21, 2022

      61        Email from C. Holcomb, February 25, 2022

      62        Letter to Defendant-Intervenor from Plaintiff, March 17, 2022

      63        Email from C. Holcomb, March 23, 2022


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on May 12, 2022                              /s/ Loree Stark                       .
                                                      Loree Stark




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER            Civil Action No. 2:21-cv-00316
 JACKSON,
                                                          Hon. Joseph R. Goodwin
                             Plaintiff,
                                                          CERTIFICATE OF SERVICE
                       v.

 WEST VIRGINIA STATE BOARD OF
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.

                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 12th day of May, 2022, I electronically filed a

true and exact copy of the foregoing document with the Clerk of Court and all parties using the

CM/ECF System.


                                                     /s/ Loree Stark
                                                     Loree Stark
                                                     West Virginia Bar No. 12936




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